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                        IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF SOUTH CAROLINA

                                      GREENVILLE DIVISION



 The United States of America for the use

 and benefit of Robert Lloyd Electric Co., Inc.,      Civil Action No.: 6:19-cv2419-BHH

                         Plaintiff,



                 vs.                                        CONSENT AMENDED
 Fluor Enterprises, Inc., et al.,
                                                            SCHEDULING ORDER

                         Defendants.



        The Court, having allowed the parties to submit a new Scheduling Order, hereby
establishes the following schedule for this case:

   1. Written discovery, i.e., interrogatories and requests for production, shall be limited to the
      new causes of action and completed not later than July 25, 2020. The Parties agree that
      the above deadline shall not prevent a Party from pursuing additional discovery based on
      later acquired information, whether by agreement or leave of court. All written discovery
      requests shall be served in time for the responses thereto to be served by this date. No
      motions relating to discovery shall be filed until counsel have consulted and
      attempted to resolve the matter as required by Local Civil Rule 7.02 and have had
      a telephone conference with Judge Hendricks in an attempt to resolve the matter
      informally. The request for a telephone conference should be made within the time
      limit prescribed by local rule for filing such motion.

   2. The deadline for completion of fact discovery shall be no later than September 18, 2020.

   3. Plaintiff shall file and serve a document identifying by full name, address, and telephone
      number each person whom Plaintiff expects to call as an expert at trial and certifying that
      a written report prepared and signed by the expert including all information required by
      Fed. R. Civ. P. 26(a)(2)(B) has been disclosed to other parties by September 24, 2020.

   4. Defendant(s) shall file and serve a document identifying by full name, address, and
      telephone number each person whom Defendant(s) expects to call as an expert at trial and
      certifying that a written report prepared and signed by the expert including all information


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       required by Fed. R. Civ. P. 26(a)(2)(B) has been disclosed to other parties by October 23,
       2020.

   5. All expert discovery, including expert depositions, shall be completed not later than
      December 4, 2020.

   6. Mediation shall be completed in this case on or before December 21, 2020. See the
      Mediation Order filed in this case which sets forth mediation requirements.

   7. All other motions, except those to complete discovery, those nonwaivable motions made
      pursuant to Fed. R. Civ. P. 12 and those relating to the admissibility of evidence at trial,
      shall be filed on or before January 10, 2021. (Fed. R. Civ. P. 16(b)(3)(A)).

   8. This case is subject to being called for trial the later of sixty (60 days after dispositive
      motions have been resolved or on or after March 4, 2021. Once a specific trial date is
      scheduled, a NOTICE will be issued at that time. The Notice will set forth deadlines for
      the Fed. R. Civ. P. 26(a)(3) pretrial disclosures and objections, Motions in Limine, Pretrial
      Briefs and marking of exhibits.


       AND IT IS SO ORDERED:




                                                    s/Bruce Howe Hendricks
                                                    Bruce Howe Hendricks
                                                    United States District Judge
June 16, 2020

Charleston, South Carolina




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